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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:16-CR-3105

vs.                                                        ORDER

KARLA MARRUFO,

                  Defendant.

      This matter is before the Court on the defendant's unopposed request
to extend her self-surrender date. The defendant's request will be granted.


      IT IS ORDERED:


      1.    The defendant shall surrender for service of sentence at the
            institution designated by the Bureau of Prisons before 1:00
            P.M. on January 10, 2018.


      2.    The Clerk of the Court is directed to provide a certified copy
            of this order to the United States Marshal.


      Dated this 5th day of October, 2017.


                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
